
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-03-283-CV



RUPERT POLLARD	APPELLANT



V.





FALLCO, INC. AND JAMES	APPELLEES

EDWARD
 FALLMAN AND LAYANA 

COLLETTE MAXIE



----------

FROM THE 67
TH
 DISTRICT COURT OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On July 30, 2004 we notified appellant that his brief had not been filed as required by rule 
38.6(a). &nbsp;
See
 T
EX
. R. A
PP
. P.
 38.6
(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a)(1), 42.3(b).



PER CURIAM 		





PANEL D:	HOLMAN, GARDNER, and WALKER, JJ.



DELIVERED: August 31, 2004

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




